                     Case 1:15-cr-00706-VSB Document 714
                                                     713 Filed 02/16/18 Page 1 of 1




                                                               601 Lexington Avenue
                                                                New York, NY 10022
          Andrew M. Genser
        To Call Writer Directly:                                  (212) 446-4800                                       Facsimile:
           (212) 446-4809                                                                                           (212) 446-4900
     andrew.genser@kirkland.com                                 www.kirkland.com



                                                           February 16, 2018
           By ECF                                                              2/16/2018


           Honorable Vernon S. Broderick
           United States District Judge
           United States Courthouse
           40 Foley Square
           New York, NY 10007

                               Re: United States v. Ng Lap Seng, S5 15 Cr. 706 (VSB)

          Dear Judge Broderick:

                   Pursuant to the Court’s August 7, 2017 Order, we write on behalf of Mr. Ng Lap Seng to
          seek approval for Mrs. Maria Mo (a/k/a Cheung Yin) to visit Mr. Ng’s residence. Mrs. Maria
          Mo is wife of Mr. Hugh Mo, counsel of record for Mr. Ng. We learned from Mr. Mo that Mrs.
          Mo has served as his legal assistant since 1994 and has been involved in Mr. Ng’s case since its
          inception. As part of Mr. Mo’s legal team, Mrs. Mo may from time to time accompany Mr. Mo
          in visiting Mr. Ng. The government has indicated that it has no objection to this request.

                    We appreciate the Court’s consideration of this request.

                                                                               Respectfully Submitted,

                                                                               KIRKLAND & ELLIS LLP

                                                                    By:        /s Andrew M. Genser
                                                                               Andrew M. Genser
                                                                               Kirkland & Ellis LLP
                                                                               601 Lexington Avenue
                                                                               New York, NY 10022


           cc:         Counsel of Record (by ECF)




Beijing    Boston    Chicago    Hong Kong   Houston   London     Los Angeles   Munich   Palo Alto   San Francisco   Shanghai   Washington, D.C.
